                            UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF NEW MEXICO



 In re:


 MBF INSPECTION SERVICES, INC.                                 Case No. 18-11579-11

          Debtor(s).


           REPLY TO OBJECTION BY INSPECTION LEASING, INC.
   TO MOTION BY THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
   EMPLOY COHNREZNICK, LLP AS FINANCIAL ADVISORS AND COHNREZNICK
        CAPITAL MARKET SECURITIES, LLC AS INVESTMENT BANKER



           The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

 above-captioned chapter 11 bankruptcy case filed by MBF Inspection Services, Inc. (the

 “Debtor”) hereby replies to the opposition by Inspection Leasing, Inc. (“Leasing”) [Dkt. No. 218]

 (the “Objection”) to the Committee’s application to employ (the “Employment Application”)

 CohnReznick LLP as its financial advisors and CohnReznick Capital Market Securities, LLC as

 its investment banker (collectively, “CohnReznick”), pursuant to 11 U.S.C. §§ 327(a), 330 and

 1103(a) [Dkt. No. 186], as follows:

                                                   I.

                          THE OBJECTION SHOULD BE OVERRULED.

          In its Objection, Leasing argues that the Employment Application should be denied for

three reasons: (1) the Committee does not need to employ CohnReznick because (i) the Debtor has

financial professionals that are providing accurate financial reporting and (ii) the purported “plan”

is to pay unsecured creditors 100%; (2) CohnReznick’s hourly billing rates are too high; and (3)

Committee members could have employed their own financial advisors, but did not. The

Committee submits that these objections are not meritorious and should be overruled.


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       A.      The Debtor’s employment of financial professionals is not grounds for denial

of the Employment Application.

       The Committee does not dispute that the Debtor should and has the right to employ

competent financial professionals to assist the Debtor to properly administer this chapter 11 case.

However, the Debtor’s employment of financial professionals does not impinge on nor limit the

Committee’s right and obligation to employ the financial professionals it deems necessary to

discharge its fiduciary duties to general unsecured creditors. If a committee was expected to rely

on a debtor’s financial professionals, then it would be the rare circumstance that a creditors

committee would be able to employ its own financial advisors.

       Because the interests of creditors and a bankrupt debtor are in constant conflict over the

course of a chapter 11 proceeding, it is common practice for an unsecured creditors committee to

retain its own financial advisors. Indeed, when both a creditors committee and an equity

committee is appointed, courts have recognized that these divergent interests are grounds for each

committee to retain their own financial advisors.

       The bankruptcy court in In re Saxon Industries, Inc., 29 B.R. 320 (Bankr.S.D.N.Y.1983)

recognized an inherent conflict between creditors and equity holders. There, the bankruptcy court

granted the application of an equity committee to employ its own accountants despite the prior

employment of accountant by the creditors’ committee.

       The question posed to the court in Saxon is precisely the same as Leasing presents here

with respect to the need of a financial advisor in light of financial information that has been and

can be generated by other professionals employed in the case. The Saxon court addressed an

employment application by an equity committee to engage a financial advisor, Arthur Anderson

& Co. The creditors committee in that case objected, arguing that the equity committee could

rely on financial information provided by the creditors committee's financial advisor. Id. at 321.

The Saxon Court stated the issue presented as: “whether the availability of information from

various accounting firms presently employed by other entities in the case obviates the need for the



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Equity Committee to employ its own professional financial advisors.” Id. Due to the inherent

difference in the duties owed by each committee to its constituents, the Saxon Court noted that:

        “In the instant case, the two committees are separate and distinct entities with the

        members of the unsecured creditors and equity creditors class possessing variant

        priorities and interests with respect to their relationship with the debtor. Thus, an

        accountant retained by the Creditors' Committee cannot also represent the interests

        of the Equity Committee.”

Id.

        The Saxon court further ruled concluded that:

        Independent and disinterested advice is required for the Equity Committee to meet

        its fiduciary responsibilities and for the Committee's professionals to meet their

        fiduciary responsibilities.”

Id. at 322.

        Citing Saxon, the District Court in In re Evans Products Company, 58 B.R. 572 (D. S.D.

Fla. 1985) similarly reversed the bankruptcy court’s denial of an equity committee’s application

to employ financial advisors. The Court in Evans stated: “Stockholders are no less entitled than

creditors to independent, zealous representation by professionals free of any compromising

influences or loyalties.” Id. at 576.

        Here, the need for independent financial advice for the Committee is at least as important

as in Saxon when it comes to the inherent conflict of interest that exists among the Debtor and its

unsecured creditors. Further, as set forth in the Employment Application, CohnReznick’s

expertise is beyond question, and its services go well beyond just “crunching the numbers.”

CohnReznick’s deep experience in chapter 11 cases enables the firm to give essential, concise and

user-friendly information to the Committee whose members are unfamiliar with the type of

information necessary to make educated decisions on behalf of all general unsecured creditors.

        Although the Committee’s members are, in a way, homogenous, this does not make their

goal to maximize the recovery on their claims – and to obtain the most favorable treatment in a

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plan regarding the timing and certainty of payment - any different than creditors on a committee

with a more varied composition. Additionally, the Committee members’ interests are no different

the dozens (or hundreds) of other unsecured creditors who are entitled to representation by a

Committee that is well-equipped to perform their fiduciary function with independent and

unbiased counsel from its professionals. Therefore, employment of CohnReznick is essential to

the Committee’s ability to act as a fiduciary to unsecured creditors independent of the Debtor.

       B.      The chapter 11 plan that was filed by the Debtor, and its statements that it

will pay creditors in full, are not a basis to deny the Employment Application.

       At the status conference held before this Court on April 3, 2019, new counsel for the

Debtor represented that the plan and disclosure statement filed by prior counsel would be

withdrawn. Further, although the Debtor has maintained that unsecured creditors would be paid

in full in this case, this is not a basis for denying the Employment Application.

       Although the Debtor may propose a full payment plan, the Committee must examine and

determine:

               1.      The feasibility of such a plan pursuant to 11 U.S.C. § 1129(a)(11);

               2.      Whether the plan is in the “best interests” of creditors under 11 U.S.C. §

1129(a)(7), which would include a valuation of the Debtor’s enterprise;

               3.      Risk factors relating to a plan that provides for payments to creditors over a

number of years;

               4.      The existence of plan options that may provide for more certain and more

expeditious payment to unsecured creditors;

               5.      The need for post-confirmation oversight with respect to plan compliance;

               6.      The existence of sources to pay creditors outside of the business operations

of the Debtor, whether through litigation or negotiation; and

               7.      Other plan issues that are not addressed simply by the Debtor proposing a

purported 100% plan.



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       In addition to assisting the Committee with the foregoing irrespective of whether the

Debtor contends that creditors will get paid 100%, the Committee has the continuing obligations

to carry out their other fiduciary duties as an unbiased “watchdog” in this chapter 11 case, and

advising the Committee as appropriate. Therefore, it is appropriate to grant the Employment

Application despite the Debtor’s allegation that it will propose a 100% plan.

       C.      CohnReznick’s hourly billing rates are not a basis for denial of the

Employment Application.

       This Court has employed several professionals at the expense of the Debtor’s estate

without ruling on the specifics of such professionals’ hourly rates. Rather, the Court has retained

its discretion under 11 U.S.C. § 328 with respect to professional fees and hourly rates. See, e.g.,

Order Granting Debtor’s Motion to Employ Attorneys, Docket No. 230 entered April 24, 2019,

pg. 2; Order Granting Motion to Employ Levene, Neale, Bender, Yoo & Brill L.L.P., Docket No.

140 entered November 30, 2018, pg. 2, ¶ 4.

       Further, although administrative expenses is always of concern, the fact that a Committee

professional will add to the administrative expenses to be paid in this case is not a basis to deny

the Employment Application. See, In re Standard Steel Sections, Inc., 200 B.R. 511, 513 n. 2

(S.D.N.Y.1996) (“The court may not deny appointment simply because of its belief that such

appointment may prove to be a drain on the assets of the estate.”). For these reasons, Leasing’s

objection based on CohnReznick’s hourly rates should be overruled.

       D.      A Creditors Committee’s purpose is to be able to represent the interests of

unsecured creditors without the need for such creditors to incur costs to employ

professionals in chapter 11 cases.

       It is absurd to suggest that the Committee members should retain their own professionals

to represent the interests of dozens (or possible hundreds) of other unsecured creditors out of their

own pocket. The Committee is the proper vehicle through which general unsecured creditors may

advocate for the rights of its constituents. To the extent that the vast majority of general

unsecured creditors in this case are former employees of the Debtor, it would be improper and

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 unfair for the Debtor or this Court to expect that individual creditors will employ their own

 professionals to defend their claims against a corporation with the resources of the Debtor.

                                                 II.

                                          CONCLUSION

       For the foregoing reasons, and those set forth in the Employment Application, the

Employment Application should be granted and Leasing’s Objection should be denied.



                                               Respectfully submitted,
 Dated: May 2, 2019                            LEVENE, NEALE, BENDER, YOO
                                                     & BRILL L.L.P.



                                               By:
                                                       Daniel H. Reiss
                                                       Counsel for the Official Committee of
                                                       Unsecured Creditors




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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above was filed electronically on May

2, 2019 pursuant to the service requirements of the ECF/CM for the United States Bankruptcy

Court for the District of New Mexico, which will notify all counsel of record.


                                             s/ Daniel H. Reiss
                                             Daniel H. Reiss




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